                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA


UNITED STATES OF AMERICA                        )
                                                )
                                                )           No. 1:08-CR-130
v.                                              )
                                                )           Chief Judge Curtis L. Collier
                                                )
PHILLIP L. PATRICK                              )


                                            ORDER

       On June 3, 2009, United States Magistrate Judge Susan K. Lee filed a Report and

Recommendation (“R&R”) (Court File No. 50) recommending the Court deny Defendant Phillip L.

Patrick’s motion to suppress. Neither party filed an objection.

       After reviewing the record and the applicable law, the Court agrees with the magistrate

judge’s findings of fact and conclusions of law. Therefore, the Court ACCEPTS and ADOPTS

the R&R (Court File No. 50) pursuant to 28 U.S.C. § 636(b)(1), and ORDERS as follows:

       Defendant’s motion to suppress is DENIED (Court File No. 46).

       SO ORDERED.

       ENTER:



                                             /s/
                                             CURTIS L. COLLIER
                                             CHIEF UNITED STATES DISTRICT JUDGE




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